      Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 1 of 41



                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,      §
      Plaintiffs,                        §
                                         §
v.                                       §   Case No. 5:21-cv-844-XR
                                         §
GREGORY W. ABBOTT, et al.,               §
     Defendants.                         §
OCA-GREATER HOUSTON, et al.,             §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 1:21-cv-780-XR
                                         §
JOSE A. ESPARZA, et al,.                 §
       Defendants.                       §

HOUSTON JUSTICE, et al.,                 §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 5:21-cv-848-XR
                                         §
GREGORY WAYNE ABBOTT, et al.,            §
     Defendants.                         §

LULAC TEXAS, et al.,                     §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 1:21-cv-0786-XR
                                         §
JOSE ESPARZA, et al.,                    §
       Defendants.                       §

MI FAMILIA VOTA, et al.,                 §
      Plaintiffs,                        §
                                         §
v.                                       §
                                             Case No. 5:21-cv-0920-XR
                                         §
GREG ABBOTT, et al.,                     §
      Defendants.                        §




                                         1
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 2 of 41




 UNITED STATES OF AMERICA,                        §
              Plaintiff,                          §
                                                  §
 v.                                               §
                                                        Case No. 5:21-cv-1085-XR
                                                  §
 THE STATE OF TEXAS, ET AL.,                      §
              Defendants                          §



 THE SECRETARY’S OBJECTIONS AND RESPONSES TO PRIVATE PLAINTIFFS’
             FIRST SET OF REQUESTS FOR PRODUCTION

TO:    The LUPE Plaintiffs, by and through their attorney of record, Nina Perales, Mexican
       American Legal Defense and Education Fund, 110 Broadway, Suite 300, San Antonio, TX
       78205; The OCA-Greater Houston Plaintiffs, by and through their attorney of record, Ryan
       V. Cox, Texas Civil Rights Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston
       Justice Plaintiffs, by and through their attorney of record, Sarah M. Cummings, Reed Smith
       LLP, 2850 N. Harwood Street, Suite 1500, Dallas, TX 75201; The LULAC Plaintiffs, by and
       through their attorney of record, John R. Hardin, Perkins Coie LLP, 500 North Akard Street,
       Suite 3300, Dallas, Texas 75201-3347; and The Mi Familia Vota Plaintiffs, by and through
       their counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Defendant John Scott (“Defendant” or “the Secretary”), in his official capacity as the Texas

Secretary of State, hereby serves his Objections and Responses to the Private Plaintiffs’ First Set of

Requests for Production, pursuant to the Federal Rules of Civil Procedure.

Date: December 29, 2021                         Respectfully submitted.

KEN PAXTON                                      /s/ Patrick K. Sweeten
Attorney General of Texas                       PATRICK K. SWEETEN
                                                Deputy Attorney General for Special Litigation
BRENT WEBSTER                                   Tex. State Bar No. 00798537
First Assistant Attorney General
                                                WILLIAM T. THOMPSON
                                                Deputy Chief, Special Litigation Unit
                                                Tex. State Bar No. 24088531

                                                ERIC A. HUDSON
                                                Senior Special Counsel
                                                Tex. Bar No. 24059977
                                                KATHLEEN T. HUNKER

                                                  2
      Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 3 of 41



                                           Special Counsel
                                           Tex. State Bar No. 24118415
                                           *Application for Admission Pending

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                                           Counsel for the Texas Secretary of State


                              CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of December, 2021, the attached the Secretary’s
Objections and Responses to Private Plaintiffs’ First Request for Production of Documents was
served on opposing counsel via electronic mail.

                                            /s/ Patrick K. Sweeten
                                            PATRICK K. SWEETEN
                                            Deputy Attorney General for Special Litigation




                                             3
        Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 4 of 41



                          OBJECTIONS RELEVANT TO EACH REQUEST

        Defendant asserts that each of the following objections applies specifically to each request. In

the interest of brevity, these objections are offered here to avoid unnecessary repetition of objections

to definitions, scope, and similar issues that afflict each request below. These objections are as follows:

        Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ.

P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or expense

of the proposed discovery outweighs its likely benefit.” Id. The twin demands for relevancy and

proportionality “are related but distinct requirements.” Samsung Electronics Am., Inc. v. Chung, 321 F.R.D.

250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant to the party’s claims or

defenses, “it is not necessary to determine whether it would be proportional if it were relevant.” Walker

v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at *3 (E.D. La. Mar. 30, 2016).

Conversely, “relevance alone does not translate into automatic discoverability” because “[a]n

assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera Commc’ns Corp., 365 F. Supp. 3d

916, 924 (N.D. Ill. 2019). Accordingly, Defendant objects to these requests to the extent that the

information sought is either irrelevant or disproportionate.

        First, much of the production being sought is not “relevant to any party’s claim or defense”

in this case. The Private Plaintiffs challenge specific provisions within Senate Bill 1 (“SB1”). Many of

the production requests, however, concern “election administration” generally, which effectively

encompasses every action that the Office of the Texas Secretary of State (“Texas SOS”) and/or local

election official takes pursuant to the Texas Election Code. See, e.g., RFP Nos. 13, 15, and 17.

Additionally, the Private Plaintiffs indicate that they need all fields contained within the Texas Election

Administration Management (“TEAM”) system that relate to voter eligibility, voter history, and the

                                                    4
          Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 5 of 41



implementation and enforcement of SB1. However, not only does the Secretary of State’s TEAM

system contain vast amounts of data that sheds no light on these issues, but the Private Plaintiffs,

again, make no effort to limit their requests to the provisions of SB1 raised in their live pleadings.

          Second, large amounts of the requested production are not “proportional to the needs of the

case.” This language was inserted into Rule 26(b) in 2015 “to emphasize the need for proportionality,”

Prasad v. George Washington Univ., 323 F.R.D. 88, 91 (D.D.C. 2017), and “highlight[] its significance,”

Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C. 2020); see also Chief Justice John Roberts, 2015 Year-

End Report on the Federal Judiciary at 6, Supreme Court of the United States, 1 (“Rule 26(b)(1)

crystalizes the concept of reasonable limits on discovery through increased reliance on the common-

sense concept of proportionality[.]”). As the Advisory Committee explained, this addition of overt

“proportional” language was meant to better reflect the intent of the 1983 amendments, which were

designed “to deal with the problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s

note (2015) (quoting the 1983 advisory notes). However, this “clear focus of the 1983 provisions may

have been softened, although inadvertently, by the amendments made in 1993.” Id. Thus, the 2015

amendment sought to “restore[] the proportionality factors to their original place in defining the scope

of discovery” and reinforce the parties’ obligation “to consider these factors in making discovery

requests, responses, or objections.” Id. As fully restored, the proportionality requirement “relieves

parties from the burden of taking unreasonable steps to ferret out every relevant document.” Virginia

Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly,

Defendant objects to the Private Plaintiffs’ Requests for Production to the extent that these requests

fall short of this more stringent proportionality standard.




1
    https://www.supremecourt.gov/publicinfo/year-end/2015year-endreport.pdf

                                                      5
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 6 of 41



        Furthermore, Defendant objects to Private Plaintiffs’ definitions of the terms “you,” “your,”

and “Secretary of State,” and to the names of specific individuals to the extent they attempt to impose

rules or requirements that are inconsistent with the Federal Rules of Civil Procedure. Defendant is

responding with information known to, or within the possession, custody, or control of Defendant.

Defendant is not responding for other agencies, boards, bureaus, commissions, or other independent

executive or legislative departments of the State of Texas. Defendant objects to the requests for

production, definitions, and instructions to the extent they extend to non-parties, or require Defendant

to answer for non-parties. Accordingly, Defendant objects to all requests with the terms “you,”

“your,” and “Secretary of State” as overbroad, unduly burdensome, and not calculated to lead to

admissible evidence.

        The inadvertent production or disclosure of any privileged documents or information shall

not constitute or be deemed to be a waiver of any applicable privilege with respect to such document

or information (or the contents or subject matter thereof) or with respect to any other such document

or discovery now or hereafter requested or provided. Defendant reserves the right not to produce

documents that are in part protected by privilege, except on a redacted basis, and to require the return

of any document (and all copies thereof) inadvertently produced. Defendant likewise does not waive

the right to object, on any and all grounds, to (1) the evidentiary use of documents produced in

response to these requests; and (2) discovery requests relating to those documents.

        These responses and objections are made without waiving any further objections to, or

admitting the relevancy or materiality of, any of the information or documents requested. All answers

are given without prejudice to Defendant’s right to introduce or object to the discovery of any

documents, facts, or information discovered after the date hereof. Likewise, these responses and

objections are not intended to be, and shall not be construed as, agreement with the Private Plaintiffs’

characterization of any facts, circumstances, or legal obligations. Defendant reserves the right to


                                                   6
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 7 of 41



contest any such characterization as inaccurate and object to the Requests insofar as they contain any

express or implied assumptions of fact or law concerning matters at issue in this litigation.

        Defendant will provide his responses based on terms as they are commonly understood and

consistent with the Federal Rules of Civil Procedure. Defendant objects to and will refrain from

extending or modifying any words employed in the Requests to comport with any expanded

definitions or instructions. Defendant will answer the Requests to the extent required by the Federal

Rules of Civil Procedure and the Local Rules of the Western District of Texas.




                                                   7
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 8 of 41



        SPECIFIC OBJECTIONS AND RESPONSES TO PRIVATE PLAINTIFFS’
                  FIRST SET OF REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding any
rationale(s) for drafting or enacting SB 1, SB 7, HB 3, or HB 6.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request.

         Additionally, Defendant objects to this request because it seeks irrelevant documents and
communications. The Private Plaintiffs do not challenge any provision of SB7, HB3, or HB6, and
challenge only a limited set of provisions of SB1, yet the request asks OAG to produce any document
and communication about the rationale for drafting or enacting SB1, SB7, HB3, or HB6, regardless
of whether it relates to provision that it challenged through the underlying suit. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome. The burden of conducting this
examination far exceeds the benefit, especially since much of the information Private Plaintiffs seeks
is either publicly available or more readily attainable from other parties to this litigation.

         Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
Defendant objects to this request to the extent that it calls for the production of documents within
the control of third parties, including independent officers of the State of Texas, who may or may not
be parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Finally, Defendant objects to this request to the extent
that it encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

       Defendant will produce the following responsive documents: Fiscal notes prepared for the
Texas Legislature on SB 1, SB 7, HB 3, and HB 6.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.



                                                   8
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 9 of 41



REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding the
implementation or enforcement of SB 1, SB 7, HB 3, or HB 6.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request.

         Additionally, Defendant objects to this request because it seeks irrelevant documents and
communications. The Private Plaintiffs do not challenge any provision of SB7, HB3, or HB6, and
challenge only a limited set of provisions of SB1, yet the request asks OAG to produce any document
and communication about the rationale for drafting or enacting SB1, SB7, HB3, or HB6, regardless
of whether it relates to provision that it challenged through the underlying suit. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome. The burden of conducting this
examination far exceeds the benefit, especially since much of the information Private Plaintiffs seeks
is either publicly available or more readily attainable from other parties to this litigation.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. It does not enforce the challenged provisions in SB1. What’s
more, SB7, HB3, or HB6 were not enacted into law. Texas SOS therefore has not developed,
published, or communicated any training materials, guidance, election advisories, or other resources
that address the enforcement or implementation of these bills. As such, this request is not
proportionate to the needs of the case. It is outside the scope of discovery, and it seeks information
that either does not exist or is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501.

       Defendant will produce the following responsive documents: Materials from multiple Election
Law seminars hosted by the Office of the Secretary of State in December 2021; Election Advisory
No. 2021–18; Election Advisory No. 2021–20; Election Advisory No. 2021–21; Election Advisory
No. 2021–23; and Election Advisory No. 2021–24.



                                                   9
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 10 of 41



         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding voter
turnout, including patterns of voter turnout by racial or ethnic minorities, disabled persons, and
partisan affiliation during the 2020 primary and general elections.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since much of the information Private Plaintiffs seeks is either publicly available or more
readily attainable from other parties to this litigation.

         Defendant further objects to the request for “All documents and communications regarding
voter turnout” sweeps far too broadly, and thus, is vague, overly broad, and unduly burdensome.
Requesting “all documents” related to voter turnout is not sufficiently specific to determine what
would be potentially responsive or assess the burdens of collecting and producing any such
information. Moreover, much of the requested information is not relevant to any claims or defenses
in this case. Plaintiffs have filed suit over select portions of SB1, not the entirety of the changes.

          Defendant also objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding voter turnout. What’s more, the State of Texas neither requests nor records a voter’s party
affiliation during the registration process. Voters instead typically affiliate with a party by being
accepted to vote in a party’s primary election. Tex. Elec. Code § 162.003. That affiliation then
automatically expires at the end of each calendar year. Tex. Elec. Code § 162.010. As such, this request
is not proportionate to the needs of the case. It is outside the scope of discovery, and it seeks
information that either does not exist or is not within Defendant’s possession, custody, or control.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
                                                   10
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 11 of 41



they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding the
impact or potential impact of SB 1, SB 7, HB 3, or HB 6 on particular demographics, including but
not limited to racial or ethnic minorities, disabled persons, and party affiliation.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and/or communications. The Private
Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Texas SOS to produce
any document and/or communication about the impact of SB1, SB7, HB3, or HB6, regardless of
whether impact stems from a challenged provision. Without additional parameters, the request would
require Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination far exceeds the benefit, especially since the Private Plaintiffs indicate in
the request that their inquiry is directed at a much narrower subset of information.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who are not parties to this litigation and whose documents,
communications, and deliberations are not within Defendant’s custody, possession, or control. As
explained throughout this litigation, Texas SOS’s principal duty under the Election Code is to obtain
and maintain uniformity in Texas Elections, which it discharges by providing assistance and advice to
local election authorities. Texas SOS does not conduct independent assessments regarding the impact
or potential impact of enacted or proposed legislation on specific demographics. What’s more, the
State of Texas neither requests nor records a voter’s party affiliation during the registration process.
Voters instead typically affiliate with a party by being accepted to vote in a party’s primary election.
Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of each calendar year.
Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs of the case. It is
outside the scope of discovery, and it seeks information that either does not exist or is not within
Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
                                                   11
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 12 of 41



they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications regarding usage of
the following methods of voting by racial or ethnic minorities and disabled persons, or by party
affiliation, during the period from 2016 to present:

        (a) Drop-box voting;
        (b) Drive-thru voting;
        (c) 24-hour voting;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from a Texas
SOS employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom
have job responsibilities that relate in any way to the subject matter of this request.

        Defendant also objects to the catchall term “all other methods of voting” as not only being
vague, ambiguous, and overly broad, but also lacking specificity. Without additional limits, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy. Because the Plaintiffs do not challenge “all
methods of voting,” but rather specific provisions of SB1, the burden of conducting the request far
exceeds the benefit, especially since much of the information Private Plaintiffs seeks is either publicly
available or more readily attainable from other parties to this litigation.

          Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who are not parties to this litigation and whose documents,
communications, and deliberations are not within Defendant’s custody, possession, or control. As
explained throughout this litigation, Texas SOS’s principal duty under the Election Code is to obtain
and maintain uniformity in Texas Elections, which it discharges by providing assistance and advice to
local election authorities. Texas SOS does not conduct independent assessments regarding usage of
voting methods by specific demographic groups. What’s more, the State of Texas neither requests nor
records a voter’s party affiliation during the registration process. Voters instead typically affiliate with
a party by being accepted to vote in a party’s primary election. Tex. Elec. Code § 162.003. That
affiliation then automatically expires at the end of each calendar year. Tex. Elec. Code § 162.010. As
such, this request is not proportionate to the needs of the case. It is outside the scope of discovery,


                                                    12
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 13 of 41



and it seeks information that either does not exist or is not within Defendant’s possession, custody,
or control.

         Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
In accordance with Texas Election Code § 31.006, if, after receiving or discovering a complaint alleging
information indicating criminal conduct in connection with an election, Texas SOS determines that
there is reasonable cause to suspect that the alleged criminal conduct occurred, Texas SOS shall refer
the complaint information to the Attorney General for further investigation and possible prosecution.
The release of information related to these complaints could compromise and endanger the Attorney
General’s investigation to the extent it remains ongoing. Defendant therefore considers any
documents related to open investigations and prosecutions to be privileged, unduly burdensome, and
not proportional to the needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications regarding voter
assistance, including transportation assistance and vote harvesting, and patterns of requests for voter
assistance by race, ethnicity, disability status, or party affiliation during the period from 2016 to
present.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination thus far exceeds the benefit.

         Defendant further objects to the request for “All documents and communications regarding
voter assistance, as vague, unintelligible, overly broad, and unduly burdensome. Additionally, it calls
for the production of materials that are irrelevant to any challenge raised in this case. For example,
Texas Elections Code §§ 64.032, -.0321, -.033, and -.035, which were not amended by SB1, concern
voting assistance, yet those provision are not at issue in this litigation. Defendant objects that review
and production of all documents and communications regarding voter assistance, without limitation, will
necessarily require a search for and review of materials that do not bear any relationship to the issues
in this case.
                                                   13
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 14 of 41




        Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding voting assistance or the patterns or frequency in which certain demographic groups utilize
this option. What’s more, the State of Texas neither requests nor records a voter’s party affiliation
during the registration process. Voters instead typically affiliate with a party by being accepted to vote
in a party’s primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at
the end of each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate
to the needs of the case. It is outside the scope of discovery, and it seeks information that either does
not exist or is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. In accordance with Texas Election Code § 31.006, if, after receiving or
discovering a complaint alleging information indicating criminal conduct in connection with an
election, Texas SOS determines that there is reasonable cause to suspect that the alleged criminal
conduct occurred, Texas SOS shall refer the complaint information to the Attorney General for
further investigation and possible prosecution. The release of information related to these complaints
could compromise and endanger the Attorney General’s investigation to the extent it remains ongoing.
Defendant therefore considers any documents related to open investigations and prosecutions to be
privileged, unduly burdensome, and not proportional to the needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications regarding the
number or proportion of Texas residents, Texas citizens of voting age, or Texas registered voters who
have, or lack, a driver’s license, election identification certificate, personal identification card, or social
security number, including patterns by race, ethnicity, disability status, or party affiliation from 2016
to present.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
                                                      14
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 15 of 41



SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and/or communications. Defendant
understands RFP No. 25 to pertain to the Private Plaintiffs’ assorted claims that Sections 5.01–5.03,
5.06–5.08, and 5.10–14 of SB1 violate federal law. See, e.g., ECF 137 ¶¶ 110, 119–23. These provisions
relate exclusively to mail-in voting. Yet the Private Plaintiffs request any documents and/or
communication about the number of Texans who have, or lack, a driver’s license, election
identification certificate, personal identification card, or social security number generally. Without
additional parameters, the request would require Defendant, and later counsel, to search, identify, and
review voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit. The
request is therefore not proportionate to the needs of this case and goes outside the scope of discovery.

        Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, Texas SOS’s
principal duty under the Election Code is to obtain and maintain uniformity in Texas Elections, which
it discharges by providing assistance and advice to local election authorities. Texas SOS does not
conduct, as a general matter, independent assessments regarding the number or proportion of Texans
who have, or lack, the forms of identification identified in this request; nor does it assess patterns
among certain demographic groups. What’s more, the State of Texas neither requests nor records a
voter’s party affiliation during the registration process. Voters instead typically affiliate with a party by
being accepted to vote in a party’s primary election. Tex. Elec. Code § 162.003. That affiliation then
automatically expires at the end of each calendar year. Tex. Elec. Code § 162.010. As such, this request
is not proportionate to the needs of the case. It is outside the scope of discovery, and it seeks
information that either does not exist or is not within Defendant’s possession, custody, or control.

        Defendant does not interpret RFP No. 7 as applying to the contents of fields contained within
the Texas SOS’s TEAM database. To the extent it does encompass the TEAM database, Defendant
objects to the request as being redundant to RFP No. 25 and incorporates the objections that
Defendant stipulated in response to the same. The TEAM system contains highly sensitive and
confidential information that, if exposed, could risk data security and the integrity of the Texas election
system as well as expose individual Texans to identity theft, harassment, extortion, and other crimes.
Defendant is in the process of producing much of the requested data to the Department of Justice
(“DOJ”), who shares a common objective to the Private Plaintiffs and intends to analyze the data for
evidence of violations of federal law. The Private Plaintiffs have the option of utilizing DOJ’s
assessment for their own purposes. The burden of answering this request thus far exceeds the benefit
since the Private Plaintiffs have an alternative avenue of obtaining the information that does not
present the acute risk to election security or privacy concerns.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.



                                                     15
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 16 of 41



         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 8: All documents and communications discussing actual
or alleged illegal voting, election fraud, or other criminal conduct in connection with the following
methods of voting during the period from 2016 to present:

        (a) Drop-box voting;
        (b) Drive-thru voting;
        (c) 24-hour voting;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from a Texas
SOS employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom
have job responsibilities that relate in any way to the subject matter of this request. Defendant also
objects to the catchall term “all other methods of voting” as not only being vague, ambiguous, and
overly broad, but also lacking specificity. Without additional parameters, the request would require
Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination thus far exceeds the benefit, especially since much of the information
Private Plaintiffs seeks is either publicly available or more readily attainable from other parties to this
litigation.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501. In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
                                                    16
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 17 of 41



Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open
investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications regarding the
methods you took to secure, monitor, surveil, watch, or supervise the following methods of voting
during the period from 2016 to present:

        (a) Drive-thru voting;
        (b) 24-hour voting;
        (c) Ballot drop boxes;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from a Texas
SOS employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom
have job responsibilities that relate in any way to the subject matter of this request. Defendant also
objects to the catchall term “all other methods of voting” as not only being vague, ambiguous, and
overly broad, but also lacking specificity. Without additional parameters, the request would require
Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination thus far exceeds the benefit, especially since much of the information
Private Plaintiffs seeks is either publicly available or more readily attainable from other parties to this
litigation.

        Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, Texas SOS’s
principal duty under the Election Code is to obtain and maintain uniformity in Texas Elections, which
                                                    17
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 18 of 41



it discharges by providing assistance and advice to local election authorities. Texas SOS does not, as a
general matter, secure, monitor, surveil, watch, or supervise methods of voting, although it has the
authority to do so. Tex. Elec. Code § 34.004. The Secretary instead appoints one or more state
inspectors, who are entitled to be present at and observe any function or activity at a polling place,
central counting station, place of canvass, or other place at which official election or voter registration
functions or activities take place. Tex. Elec. Code § 34.001–31.002. State inspectors may but are not
obligated to file a report with Texas SOS, stipulating their findings.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. In accordance with Texas Election Code § 34.005, Texas SOS may refer a
reported violation of law from a state inspector for appropriate action to the attorney general, if the
attorney general has jurisdiction, or to a prosecuting attorney having jurisdiction. The release of
information related to these reports could compromise and endanger the Attorney General or
prosecuting attorney’s investigation to the extent it remains ongoing. Defendant therefore considers
any documents related to open investigations and prosecutions to be privileged, unduly burdensome,
and not proportional to the needs of the case.

       Defendant will produce the following responsive documents: Training materials for state
inspectors and election judges.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications regarding actual
or alleged illegal voting, election fraud, or other criminal conduct in connection with voter assistance,
including transportation assistance and vote harvesting, during the period from 2016 to present.

RESPONSE:

         Defendant objects to the request for “All documents and communications” regarding voter
assistance, as vague, unintelligible, overly broad, and unduly burdensome. Additionally, it calls for the
production of materials that are irrelevant to any challenge raised in this case. For example, Texas
Elections Code §§ 64.032, -.0321, -.033, and -.035, which were not amended by SB1, concern voting
assistance, yet those provision are not at issue in this litigation. Defendant objects that review and
production of all documents and communications regarding voter assistance, without limitation, will
necessarily require a search for and review of materials that do not bear any relationship to the issues
in this case.

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
                                                    18
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 19 of 41



Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and communications. The Private
Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant to produce
any document or communication about all types of voter assistance, regardless of whether that
conduct was addressed by SB1. Without additional parameters, the request would require Defendant,
and later counsel, to search, identify, and review voluminous emails and documents unrelated to the
underlying controversy to determine responsiveness and privilege. The burden of conducting this
examination far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that
their inquiry is directed at a narrower subset of information. The request is therefore not proportionate
to the needs of this case and goes outside the scope of discovery.

         Defendant further objects that this request is needlessly duplicative on its face, or alternatively,
it is indecipherable. Request No. 8 seeks information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request. It is unclear how or whether this request is either broader
or narrower than Request No. 8.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501 In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open
investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 11: All documents and communications regarding
instances of violence, discrimination, harassment, intimidation, or inappropriate behavior from a
partisan poll watcher, poll worker, or election judge, during the period from 2016 to present.

RESPONSE:
                                                     19
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 20 of 41




        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from a Texas
SOS employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom
have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant documents and communications.
The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant
to produce any document or communication about instances of violence, discrimination, harassment,
intimidation, or inappropriate behavior from a partisan poll watcher, poll worker, or election judge,
regardless of whether that conduct was addressed by SB1. The problems with this request are
compounded by the Private Plaintiffs’ use of the catchall term “inappropriate behavior,” which
Defendant objects to as not only being vague, ambiguous, and overly broad, but also lacking
specificity. Accordingly, without additional parameters, the request would require Defendant, and later
counsel, to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit. The request is therefore not proportionate to the needs of this case and goes
outside the scope of discovery.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501 In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open
investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.


REQUEST FOR PRODUCTION NO. 12: All documents and communications related to voting
practices, election administration, and voter turnout in Harris County.
                                                    20
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 21 of 41




RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from a Texas SOS
employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom have
job responsibilities that relate in any way to the subject matter of this request.

        In addition, as commonly understood, the terms “voting practices” and “election
administration” would encompass almost every action taken by Texas SOS or local election official
pursuant to the Election Code so long as it concerned Harris County. The terms therefore are overly
broad, vague, lack specificity, and do not qualify or limit the Private Plaintiffs’ request in any
meaningful sense, as the Election Code contains thousands of provisions, for which Texas SOS
routinely answers inquiries and/or issues guidance. Accordingly, without additional parameters, the
request would require Defendant, and later counsel, to examine voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination far exceeds the benefit since much of the information Private Plaintiffs
seeks is either publicly available or more readily attainable from other parties to this litigation. The
request is therefore not proportionate to the needs of this case and goes outside the scope of discovery.

         Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
Defendant objects to this request to the extent that it calls for the production of documents within
the control of third parties, including independent officers of the State of Texas, who may or may not
be parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Finally, Defendant objects to this request to the extent
that it encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

        Defendant will produce the following responsive documents: multiple letters between Texas
SOS and the Harris County Clerk concerning election administration; letter dated December 10, 2021,
from Texas SOS to four Texas counties concerning request the Texas SOS’s for a full forensic audit
of the November 2020 general election; and the Harris County Election Administrator’s response to
Texas SOS’s request for a full forensic audit dated December 21, 2021. Defendant also refers Plaintiff
to the Texas SOS website, which has early voting and election day turnout information for Harris
County in a searchable format, available at https://www.sos.state.tx.us/elections/historical/index
.shtml.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.


                                                   21
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 22 of 41



REQUEST FOR PRODUCTION NO. 13: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Harris
County.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and communications. The Private
Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant to produce
any document or communication about election-related, illegal conduct in Harris County, regardless
of whether the specific conduct was addressed by SB1. Without additional parameters, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy to determine responsiveness and privilege. The
burden of conducting this examination far exceeds the benefit since much of the information Private
Plaintiffs seeks is either publicly available or more readily attainable from other parties to this litigation.
The request is therefore not proportionate to the needs of this case and goes outside the scope of
discovery.

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8 and 10 seek information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501 In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open
investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

        Defendant refers Private Plaintiffs to the documents produced in response to RFP No. 12.



                                                      22
      Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 23 of 41



         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 14: All documents and communications related to voting
practices, election administration, and voter turnout in Bee County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from a Texas
SOS employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom
have job responsibilities that relate in any way to the subject matter of this request. In addition, as
commonly understood, the terms “voting practices” and “election administration” would encompass
almost every action taken by Texas SOS or local election official pursuant to the Election Code so
long as it concerned Bee County. The terms therefore are overly broad, vague, lack specificity, and do
not qualify or limit the Private Plaintiffs’ request in any meaningful sense, as the Election Code
contains thousands of provisions, for which Texas SOS routinely answers inquiries and/or issues
guidance. Accordingly, without additional parameters, the request would require Defendant, and later
counsel, to examine voluminous emails and documents unrelated to the underlying controversy to
determine responsiveness and privilege. The burden of conducting this examination far exceeds the
benefit since much of the information Private Plaintiffs seeks is publicly available. The request is
therefore not proportionate to the needs of this case and goes outside the scope of discovery.

         Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
Defendant objects to this request to the extent that it calls for the production of documents within
the control of third parties, including independent officers of the State of Texas, who may or may not
be parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Finally, Defendant objects to this request to the extent
that it encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

        Defendant refers Plaintiff to the Texas SOS website, which has early voting and election day
turnout information for Bee County in a searchable format, available at
https://www.sos.state.tx.us/elections/historical/index.shtml.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be


                                                  23
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 24 of 41



identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 15: All documents and communications related to voting
practices, election administration, and voter turnout in Bexar County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from a Texas SOS
employee. Texas SOS employs over 180 individuals across multiple divisions, very few of whom have
job responsibilities that relate in any way to the subject matter of this request. In addition, as commonly
understood, the terms “voting practices” and “election administration” would encompass almost
every action taken by Texas SOS or local election official pursuant to the Election Code so long as it
concerned Bexar County. The terms therefore are overly broad, vague, lack specificity, and do not
qualify or limit the Private Plaintiffs’ request in any meaningful sense, as the Election Code contains
thousands of provisions, for which Texas SOS routinely answers inquiries and/or issues guidance.
Accordingly, without additional parameters, the request would require Defendant, and later counsel,
to examine voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit since
much of the information Private Plaintiffs seeks is either publicly available or more readily attainable
from other parties to this litigation. The request is therefore not proportionate to the needs of this
case and goes outside the scope of discovery.

         Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
Defendant objects to this request to the extent that it calls for the production of documents within
the control of third parties, including independent officers of the State of Texas, who may or may not
be parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Finally, Defendant objects to this request to the extent
that it encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

        Defendant refers Plaintiff to the Texas SOS website, which has early voting and election day
turnout information for Bexar County in a searchable format, available at
https://www.sos.state.tx.us/elections/historical/index.shtml.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.



                                                    24
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 25 of 41



REQUEST FOR PRODUCTION NO. 16: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Bexar
County.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and communications. The Private
Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant to produce
any document or communication about election-related, illegal conduct in Bexar County, regardless
of whether the specific conduct was addressed by SB1. Without additional parameters, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy to determine responsiveness and privilege. The
burden of conducting this examination far exceeds the benefit since much of the information Private
Plaintiffs seeks is either publicly available or more readily attainable from other parties to this litigation.
The request is therefore not proportionate to the needs of this case and goes outside the scope of
discovery.

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8, 10 and 13 seek information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request. While Request No. 13 is limited to Harris County, and
thus is not explicitly duplicative, Request Nos. 8 and 10 are.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501. In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open
investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
                                                      25
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 26 of 41



they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 17: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Bee County.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant documents and communications. The Private
Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant to produce
any document or communication about election-related, illegal conduct in Bexar County, regardless
of whether the specific conduct was addressed by SB1. Without additional parameters, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy to determine responsiveness and privilege. The
burden of conducting this examination far exceeds the benefit since much of the information Private
Plaintiffs seeks is either publicly available or more readily attainable from other parties to this litigation.
The request is therefore not proportionate to the needs of this case and goes outside the scope of
discovery.

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8, 10, 16, and 16 seek information on alleged illegal voting, election fraud, or
other criminal conduct, and so does this request. While Request Nos. 13 and 16 are limited to
particular counties, and thus is not explicitly duplicative, Request Nos. 8 and 10 are.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. Defendant also objects to this request to the extent that
it calls for the production of documents subject to legislative privilege, investigative privilege,
deliberative process privilege, attorney-client privilege, attorney opinion work-product privilege,
ordinary attorney work-product privilege, and/or protected from disclosure by Texas Government
Code § 323.017, which is privileged under Fed. R. Evid. 501 In accordance with Texas Election Code
§ 31.006, if, after receiving or discovering a complaint alleging information indicating criminal conduct
in connection with an election, Texas SOS determines that there is reasonable cause to suspect that
the alleged criminal conduct occurred, Texas SOS shall refer the complaint information to the
Attorney General for further investigation and possible prosecution. The release of information
related to these complaints could compromise and endanger the Attorney General’s investigation to
the extent it remains ongoing. Defendant therefore considers any documents related to open


                                                      26
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 27 of 41



investigations and prosecutions to be privileged, unduly burdensome, and not proportional to the
needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 18: All communications between you and the Texas
Legislature regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the impacts
or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities, disabled persons,
and on voters by party affiliation.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and the
Legislature. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request
asks Texas SOS to produce any communication Texas SOS had with lawmakers on SB1, SB7, HB3,
and HB6 regardless of whether the subject of that communication bears on the issues raised in Private
Plaintiffs’ legal action. Without additional parameters, the request would require Defendant, and later
counsel, to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that their inquiry
is directed at a much narrower subset of information: impacts or potential impacts of SB1, SB7, HB3,
and HB6 on certain demographic groups.

         Defendant further objects to this request to the extent that it calls for the production of
documents within the control of third parties, who are not parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.


                                                    27
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 28 of 41



        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 19: All communications between you and the Texas
Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the impacts or
potential impacts of SB 1 on racial or ethnic minorities, disabled voters, and voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and the
Governor. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks
Texas SOS to produce any communication Texas SOS had with the Governor and his staff on SB1,
SB7, HB3, and HB6 regardless of whether the subject of that communication bears on the issues
raised in Private Plaintiffs’ legal action. Without additional parameters, the request would require
Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination far exceeds the benefit, especially since the Private Plaintiffs indicate in
the request that their inquiry is directed at a much narrower subset of information: impacts or potential
impacts of SB1, SB7, HB3, and HB6 on certain demographic groups.

         Defendant further objects to this request to the extent that it calls for the production of
documents within the control of third parties, who are not parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.
                                                    28
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 29 of 41




        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 20: All communications between you and the Texas
Lieutenant Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and the
Lieutenant Governor. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the
request asks Texas SOS to produce any communication Texas SOS had with the Lieutenant Governor
and his staff on SB1, SB7, HB3, and HB6 regardless of whether the subject of that communication
bears on the issues raised in Private Plaintiffs’ legal action. Without additional parameters, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy to determine responsiveness and privilege. The
burden of conducting this examination far exceeds the benefit, especially since the Private Plaintiffs
indicate in the request that their inquiry is directed at a much narrower subset of information: impacts
or potential impacts of SB1, SB7, HB3, and HB6 on certain demographic groups.

         Defendant further objects to this request to the extent that it calls for the production of
documents within the control of third parties, who are not parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
                                                    29
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 30 of 41



of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 21: All communications between you and the Texas
Attorney General regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and the
Attorney General. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the
request asks Texas SOS to produce any communication Texas SOS had with the Attorney General
and his staff on SB1, SB7, HB3, and HB6 bills regardless of whether the subject of that
communication bears on the issues raised in Private Plaintiffs’ legal action. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since the Private Plaintiffs indicate in the request that their inquiry is directed at a much
narrower subset of information: impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on certain
demographic groups.

        Defendant further objects to this request to the extent that it calls for the production of
documents within the control of third parties, who are not parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
                                                   30
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 31 of 41



registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.
The Office of the Attorney General represents Defendant in this consolidated legal action. It also
provides legal advice to state agencies when requested. Any communications made pursuant to that
representation would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 22: All documents and communications between you and
local election officials regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and local
election officials. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request
asks Texas SOS to produce any communication Texas SOS had with local election officials on SB1,
SB7, HB3, and HB6 regardless of whether the subject of that communication bears on the issues
raised in Private Plaintiffs’ legal action. Without additional parameters, the request would require
Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination far exceeds the benefit, especially since the Private Plaintiffs indicate in
the request that their inquiry is directed at a much narrower subset of information: impacts or potential
impacts of SB1, SB7, HB3, and HB6 on certain demographic groups.

        Defendant objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to Plaintiffs. Defendant further objects to this request to the
extent that it calls for the production of documents within the control of third parties, who are not
                                                     31
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 32 of 41



parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, Texas SOS’s
principal duty under the Election Code is to obtain and maintain uniformity in Texas Elections, which
it discharges by providing assistance and advice to local election authorities. Texas SOS does not
conduct independent assessments regarding the impact or potential impact of enacted or proposed
legislation on specific demographics. What’s more, the State of Texas neither requests nor records a
voter’s party affiliation during the registration process. Voters instead typically affiliate with a party by
being accepted to vote in a party’s primary election. Tex. Elec. Code § 162.003. That affiliation then
automatically expires at the end of each calendar year. Tex. Elec. Code § 162.010. As such, this request
is not proportionate to the needs of the case. It is outside the scope of discovery, and it seeks
information that either does not exist or is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or protected
from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R. Evid. 501.

        Defendant refers the Private Plaintiffs to the documents produced in response to RFP No. 2.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 23: All communications between you and the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
and HB 6, including communications regarding the impacts or potential impacts of SB 1 on racial or
ethnic minorities and disabled voters, and on voters by party affiliation:

        (a) The Heritage Foundation
        (b) The Texas Public Policy Foundation
        (c) The American Legislative Exchange Council
        (d) The State Policy Network
        (e) Honest Elections Project
        (f) Public Interest Legal Foundation
        (g) American Civil Rights Union
        (h) Project Veritas
        (i) The Republican National Committee

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from a Texas SOS employee. Texas
SOS employs over 180 individuals across multiple divisions, very few of whom have job
                                                     32
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 33 of 41



responsibilities that relate in any way to the subject matter of this request. In addition, Defendant
objects to this request to the extent it seeks irrelevant communications between Texas SOS and any
of the listed third-party organizations. The Private Plaintiffs only challenge a limited set of provisions
in SB1, yet the request asks Texas SOS to produce any communication Texas SOS had with third-
party organization on SB1, SB7, HB3, and HB6 regardless of whether the subject of that
communication bears on the issues raised in Private Plaintiffs’ legal action. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since the Private Plaintiffs indicate in the request that their inquiry is directed at a much
narrower subset of information: impacts or potential impacts of SB1, SB7, HB3, and HB6 on certain
demographic groups.

         Defendant further objects to this request to the extent that it calls for the production of
documents within the control of third parties, who are not parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, Texas SOS’s principal duty under the Election Code
is to obtain and maintain uniformity in Texas Elections, which it discharges by providing assistance
and advice to local election authorities. Texas SOS does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, deliberative process privilege, attorney-client privilege,
common interest privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 24: All database dictionaries and user manuals related to
the Texas Election Administration Management (TEAM) database, the driver license and personal
identification card database, and the election identification certificate database.

RESPONSE:




                                                    33
Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 34 of 41
    Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 35 of 41




VOTER_COUNTY_I      Internal database       UNIT_NUMBER         Voter Residential
D                   key                                         Unit Number
JUR_ID              aka Jurisdiction ID,    CITY                Voter Residential
                    County Number, or                           City Name
                    County Code
VUID                Voter Unique ID         STATE               Voter Residential
                                                                State Name
LAST_NAME           Voter Last Name         ZIP_CODE            Voter Residential
                                                                ZipCode
FIRST_NAME          Voter First Name        MAIL_NAME           Voter Mailing
                                                                Address Name
MIDDLE_NAME         Voter Middle Name       MAIL_ADRS_1         Voter Mailing
                                                                Address Line1
FORMER_LAST_NA      Voter Former Last       MAIL_ADRS_2         Voter Mailing
ME                  Name                                        Address Line2
NAME_SUFFIX_COD     Voter Name Suffix       MAIL_CITY           Voter Mailing City
E                                                               Name
SSN                 Voter Social Security MAIL_STATE            Voter Mailing State
                    Number (complete                            Name
                    where available, or
                    last 4 digits where
                    complete is
                    unavailable)
GENDER_CODE         Voter Gender Code MAIL_ZIP_CODE             Voter Mailing
                                                                Address ZipCode
OFFICIAL_ID_NUMB Texas Drivers              PCT_CODE            Precinct Code
ER               License
                 Number/Texas ID
DATE_OF_BIRTH    Voter Date of Birth-       PCT_NAME            Precinct Name

VOTER_STATUS_CO     Voter Status Code       LANGUAGE_CODE       Language Code
DE                  (V=Active,
                    C=Cancelled,
                    S=Suspense, L=Live
                    Check Wait)
SPANISH_SURNAME     Indicates whether       REGISTRATION_DAT Voter Application
_FG                 Voter has a Spanish     E                Date
                    Surname (Y=Yes,
                    N=No)
BLOCK_NUMBER        Voter Residential       EDR                 Effective Date of
                    Block Number                                Registration-
DESIGNATOR          Voter Residential       DISPLAY_CODE        Cancel Event Display
                    Designator                                  Code (Filled-in for
                                                                Cancelled Voters
                                                                Only)



                                           35
Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 36 of 41
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 37 of 41



        d. This request seeks any and all other fields produced by the State of Texas from the TEAM
           database during United States v. Texas, No. 2:13-cv-263 (S.D. Tex.).

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. Defendant also objects to this request to the extent that it calls for
the production of documents within the control of third parties, including independent officers of the
State of Texas, who may or may not be parties to this litigation and whose documents,
communications, and deliberations are not within Defendant’s custody, possession, or control.

         First, very few of claims raised by the Private Plaintiffs have any relation to the TEAM
database or the fields of information contained therein. To offer an example, each group of Private
Plaintiffs alleges that that Section 6.04 of SB1 violates 52 U.S.C. § 10508, which pertains to voters that
require assistance to vote due to blindness, disability, or inability to read or write. ECF 136 ¶¶ 281–
88; ECF ¶¶ 171–76; ECF ¶¶ 318–26; ECF ¶¶ 267–72. The only portion of this request that could be
construed to relate to this allegation is the request for the contents of all TEAM fields that are used
“to identify voters who have reported or established disability status for voting purposes.” However,
the TEAM system contains no such fields, and neither Defendant nor local election officials are
required to make any such determination. Rather, a voter that requires assistance need only inform
local election officials of this need at the time of voting. See Tex. Elec. Code Ann. § 64.032. As such,
this request is not proportionate to the needs of the case as it seeks information that either does not
exist or is not within the Defendant’s possession, custody, or control.

         Second, Defendant understands RFP No. 25 to pertain to the Private Plaintiffs’ assorted
claims that Sections 5.01–5.03, 5.06–5.08, and 5.10–14 of SB1 violate federal law. See, e.g., ECF 137
¶¶ 110, 119–23. These provisions relate exclusively to mail-in voting. Yet the Private Plaintiffs request
the contents of data fields for all individuals in the TEAM system, regardless of whether such
individuals have ever voted by mail. The TEAM system currently contains information on
approximately 17 million voters, but typically only 500,000 or so voters utilize mail-in voting in a given
general election. Requesting information for millions of voters that are unlikely to be subject to these
provisions is thus overly broad, disproportionate to the needs of this case, and irrelevant to the Private
Plaintiffs’ claims.

         Moreover, the TEAM system contains highly sensitive and confidential information that, if
exposed, could risk data security and the integrity of the Texas election system as well as expose
individual Texans to identity theft, harassment, extortion, and other crimes. The Private Plaintiffs do
not have expertise or experience in safeguarding information of this nature; nor have the Private
Plaintiffs established an independent need to examine this information for themselves as opposed to
relying on the analysis performed by other parties, specifically the United States. Defendant is in the
process of producing much of the requested data to DOJ, who shares a common objective to the
Private Plaintiffs and intends to analyze the data for evidence of violations of federal law. The Private
Plaintiffs have the option of utilizing DOJ’s assessment for their own purposes.

         The burden of answering this request thus far exceeds the benefit since the Private Plaintiffs
have alternative avenues of obtaining analyses of SB1 and mail-in voters that do not present the acute
risk to election security or privacy concerns.
                                                   37
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 38 of 41




        Third, many of the fields identified by the Private Plaintiffs fall outside the scope of litigation
and do not bear on the issues or defenses raised in this case. For example, the Private Plaintiffs do not
allege that any of the challenged SB1 provisions violate the Uniformed and Overseas Citizens
Absentee Voting Act, Chapter 101 of the Texas Election Code, or Chapter 114 of the Texas Election
Code. Nevertheless, this request demands that Defendant produce the contents of all TEAM fields
used “to identify absent uniformed services voters and overseas voters entitled to the protections” of
these statutes. Likewise, the Private Plaintiff asks Defendant to produce all TEAM fields used “to
implement or enforce SB 1.” However, not only does Defendant not enforce SB1, but SB1, as enacted,
features numerous provisions that are not challenged in this case.

        The excessive scope of this request exacerbates the security and privacy concerns Defendant
raised above. The Private Plaintiffs demand that Defendant disclose complete social security numbers
“where available.” But only the last four digits of a Social Security Number must be included on an
early voting ballot application or carrier envelope, Tex. Elec. Code Ann. §§ 84.002(a)(1-a)(B) &
86.002(g)(2). Production of complete social security numbers is thus not proportional to the needs of
the case and unnecessarily presents a risk that sensitive personal information will become public. See
Syntel Sterling Best Shores Mauritius Ltd. v. TriZetto Group, Inc., 328 F.R.D. 450, 452 (S.D.N.Y. 2018)
(observing that where “the marginal utility of the documents requested, if any, is outweighed by the
burdens and delays that would be imposed,” it follows that “the discovery sought is not proportional
to the needs of the case”).

        Fourth, the catch-all request for “any and all other fields produced by the State of Texas from
the TEAM database during United States v. Texas, No. 2:13-cv-263 (S.D. Tex.)” lacks specificity, is
unduly burdensome, vague, and overly broad. The fields contained in the TEAM system have
changed, sometimes significantly, since that production occurred. Absent more specificity about the
particular fields being sought, Defendant is unable to determine what new fields might contain
potentially relevant, responsive information. Any attempt to do so would be unduly burdensome.
Furthermore, the claims in the present litigation also differ substantially from those that were involved
in United States v. Texas. The information therefore would not be relevant and falls outside the proper
scope of discovery.

        Accordingly, Defendant will withhold producing any data pursuant to RFP No. 25.

REQUEST FOR PRODUCTION NO. 26: The contents of all fields contained within the State of
Texas’s TEAM voter registration database as of 30 days prior to the March 3, 2020, primary election
in Texas (the voter registration deadline in Tex. Election Code § 13.143(e)). This request is for a
snapshot of all registrants in Texas at the voter registration deadline, including those voters who were
listed as canceled.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome.

       To that end, Defendant objects to the term “Texas’s TEAM voter registration database,”
which the Private Plaintiffs failed to define. Although TEAM contains certain information relating to
                                                    38
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 39 of 41



registered voters, such as voters’ full name, address, date of birth, and effective date of registration,
the TEAM database extends far beyond these subjects. Absent a more specific request that either
details the Private Plaintiffs’ purpose for seeking this information or names the fields in TEAM with
particularity, Defendant is impermissibly left “to ponder and to speculate in order to decide what is
and what is not responsive.” Bruggeman 219 F.R.D. at 436 (citing Pulsecard, Inc., 1995 WL 526533, at
*5).

        Also, very few of claims raised by the Private Plaintiffs have an apparent connection to the
TEAM voter registration database or the fields of information contained therein. It is Defendant’s
understanding that RFP No. 26 pertains to the Private Plaintiffs’ assorted claims that Sections 5.01–
5.03, 5.06–5.08, and 5.10–14 of SB1 violate federal law. See, e.g., ECF 137 ¶¶ 110, 119–23. To the
extent Private Plaintiffs seek information pursuant to its other claims, the request is not sufficiently
specific for Defendant determine what fields might contain potentially relevant, responsive
information. To the extent that the Private Plaintiffs do seek information about these sections, the
request is overbroad and disproportionate to the needs to the case.

         Sections 5.01–5.03, 5.06–5.08, and 5.10–14 relate exclusively to mail-in voting. Yet the Private
Plaintiffs request the contents of all fields contained within the State of Texas’s TEAM voter
registration database as of 30 days prior to the March 3, 2020, primary election. Not only are many of
these fields irrelevant to the Private Plaintiffs claims, but typically only 500,000 or so voters (out of
the 17 million voters who have information in TEAM) utilize mail-in voting in a given general election.
That number is significantly less during a primary. Any request that seeks information beyond this
category of voters is overly broad and disproportionate to the needs of this case.

        The TEAM system contains highly sensitive and confidential information that, if exposed,
could risk data security and the integrity of the Texas election system as well as expose individual
Texans to identity theft, harassment, extortion, and other crimes. The Private Plaintiffs do not have
expertise or experience in safeguarding information of this nature; nor have the Private Plaintiffs
established an independent need to examine this information for themselves as opposed to relying on
the analysis performed by other parties, specifically the United States. Defendant is in the process of
producing what information is available from TEAM system to DOJ, who shares a common objective
to the Private Plaintiffs and intends to analyze the data for evidence of violations of federal law. The
Private Plaintiffs have the option of utilizing DOJ’s assessment for their own purposes.

         The burden of answering this request thus far exceeds the benefit since the Private Plaintiffs
have alternative avenues of obtaining analyses of SB1 and mail-in voters that do not present the acute
risk to election security or privacy concerns.

         Finally, Defendant objects to this request to the extent that it calls for the production of
information that does not exist or is within the control of third parties, who are not parties to this
litigation and whose documents, communications, and deliberations are not within Defendant’s
custody, possession, or control. The TEAM system is not an historical record. It is a living database,
constantly updated with information reported by county officials on a daily basis. As such, there is no
means by which Texas SOS can recreate an accurate “snapshot of all registrants in Texas” at specific
moment in time. Defendant can only produce information as it is currently imputed in TEAM.

        Defendant has no responsive documents and/or information pursuant to this request.


                                                   39
       Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 40 of 41



REQUEST FOR PRODUCTION NO. 27: The contents of all fields contained within the State of
Texas’s TEAM voter registration database as of 30 days prior to the November 3, 2020, general
election in Texas (the voter registration deadline in Tex. Election Code § 13.143(e)). This request is
for a snapshot of all registrants in Texas at the voter registration deadline, including those voters who
were listed as canceled.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome.

         To that end, Defendant objects to the term “Texas’s TEAM voter registration database,”
which the Private Plaintiffs failed to define. Although TEAM contains certain information relating to
registered voters, such as voters’ full name, address, date of birth, and effective date of registration,
the TEAM database extends far beyond these subjects. Absent a more specific request that either
details the Private Plaintiffs’ purpose for seeking this information or names the fields in TEAM with
particularity, Defendant is impermissibly left “to ponder and to speculate in order to decide what is
and what is not responsive.” Bruggeman 219 F.R.D. at 436 (citing Pulsecard, Inc., 1995 WL 526533, at
*5).

        Also, very few of claims raised by the Private Plaintiffs have an apparent connection to the
TEAM voter registration database or the fields of information contained therein. It is therefore
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Sections 5.01–5.03, 5.06–5.08, and 5.10–14 of SB1 violate federal law. See, e.g., ECF 137 ¶¶ 110, 119–
23. To the extent Private Plaintiffs seek information pursuant to its other claims, the request is not
sufficiently specific for Defendant determine what fields might contain potentially relevant, responsive
information. To the extent that the Private Plaintiffs do seek information about these sections, the
request is overbroad and disproportionate to the needs to the case.

         Sections 5.01–5.03, 5.06–5.08, and 5.10–14 relate exclusively to mail-in voting. Yet the Private
Plaintiffs request the contents of all fields contained within the State of Texas’s TEAM voter
registration database as of 30 days prior to the March 3, 2020, primary election. Not only are many of
these fields irrelevant to the Private Plaintiffs claims, but only 1 million or so voters (out of the 17
million voters who have information in TEAM) utilizes mail-in voting in November 2020, which
represented the high watermark. Any request that seeks information beyond this category of voters is
overly broad and disproportionate to the needs of this case.

        The TEAM system contains highly sensitive and confidential information that, if exposed,
could risk data security and the integrity of the Texas election system as well as expose individual
Texans to identity theft, harassment, extortion, and other crimes. The Private Plaintiffs do not have
expertise or experience in safeguarding information of this nature; nor have the Private Plaintiffs
established an independent need to examine this information for themselves as opposed to relying on
the analysis performed by other parties, specifically the United States. Defendant is in the process of
producing what information is available from TEAM system to DOJ, who shares a common objective
to the Private Plaintiffs and intends to analyze the data for evidence of violations of federal law. The
Private Plaintiffs have the option of utilizing DOJ’s assessment for their own purposes.


                                                   40
      Case 5:21-cv-00844-XR Document 747-21 Filed 09/01/23 Page 41 of 41



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risk to election security or privacy concerns.

         Finally, Defendant objects to this request to the extent that it calls for the production of
information that does not exist or is within the control of third parties, who are not parties to this
litigation and whose documents, communications, and deliberations are not within the Defendant’s
custody, possession, or control. The TEAM system is not an historical record. It is a living database,
constantly updated with information reported by county officials on a daily basis. As such, there is no
means by which Texas SOS can recreate an accurate “snapshot of all registrants in Texas” at specific
moment in time. Defendant can only produce information as it is currently imputed in TEAM.

       Defendant has no responsive documents and/or information pursuant to this request.




                                                  41
